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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF MICHIGAN



Myria Petrou

                Plaintiff,

V                                                            COMPLAINT

UNIVERSITY OF MICHIGAN,

Defendant.


MYRIA PETROU (In Pro Per)
3507 Veralta Drive
Cedar Falls, IA 50613
Phone: (626) 272-7393
petroumyria75@gmail.com


                                 TRIAL BY JURY DEMANDED
                                          COMPLAINT



NOW COMES plaintiff, MYRIA PETROU, in pro per who states in support of her complaint:

                                      I.INTRODUCTION:

     1.   This case involves the resignation of Dr. Myria Petrou from the University of Michigan

           (UM) in September 2018 (where she held the position of Assistant Professor at the time)

           under false pretenses and the subsequent blacklisting of Dr. Petrou within the radiology

           and medical community.




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     2.   The events outlined started after Dr. Petrou supported a research coordinator in the

           Department of Radiology in the fall of 2014 in reporting concerns of sexual harassment

           and retaliation.

                                 II. JURISDICTION AND VENUE

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     4.   Plaintiff Dr. Myria Petrou is a resident of the City of Cedar Falls, County of Black Hawk,

           State of Iowa.

     5.   Defendant University of Michigan was at all times relevant, a Michigan public institution

           with an address of 500 S. State Street, Ann Arbor, Michigan 48109.

     6.   Jurisdiction is conferred by 28 U.S.C. § 1332 given diversity of state citizenship and

           amount in controversy exceeding $75,000 as well as 29 U.S.C. § 2617.

     7.   Jurisdiction and venue are proper in this court as Defendant’s principal place of business

           is in Ann Arbor, Michigan.

                                             III.   THE PARTIES:

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                                      IV. STATEMENT OF FACTS:

     11. Myria Petrou MA MBChB MS (“Dr. Petrou”), was recruited to the University of

          Michigan in 2009 by then chair Dr. Reed Dunnick and Vice Chair Dr. Ella Kazerooni

          from Johns Hopkins where she was on faculty.

     12. Dr. Petrou joined the Division of Neuroradiology within the Department of Radiology at

          the University of Michigan along with her husband Dr. Bradley Foerster, both as

          instructional track Assistant Professors.

     13. Dr. Petrou completed her undergraduate and medical school training at the University of

          Cambridge in the UK under a prestigious Commonwealth Scholarship.

     14. Dr. Petrou completed her residency and one year of neuroradiology fellowship at the

          University of Michigan and had a stellar academic record, with both impeccable clinical

          credentials as well as extensive national and international presentations, publications and

          grants for which she won numerous awards.

     15. Dr. Petrou completed her second year of neuroradiology fellowship at Johns Hopkins

          and was hired on as faculty at Johns Hopkins in July 2008.




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     16. As junior faculty at the University of Michigan, Dr. Petrou had a successful career as a

          physician scientist, with again an impeccable clinical record as well as numerous

          presentations, publications, grants and awards as well as numerous successful

          professional collaborations within the institution as well as with other institutions such

          as Johns Hopkins and the University of Pennsylvania.

     17. Starting in the fall of 2014, Dr. Petrou supported Ms. Duaa Altaee a research coordinator

          in the Department of Radiology in reporting concerns of sexual harassment and

          retaliation by Dr. Robert Welsh.

     18. Dr. Welsh and Dr. Petrou’s husband Dr. Foerster were principal investigators under a

          Multi-PI arrangement for NIH Grant R01 NS082304

     19. Ms. Altaee worked under grant NIH Grant R01 NS082304 as a research coordinator.

     20. Neurologist Dr. Eva Feldman was a funded co-investigator on the same grant.

     21. Dr. Petrou was a non-funded co-investigator under the same grant.

     22. Dr. Petrou accompanied Ms. Altaee to the University of Michigan Office of Institutional

          Equity (OIE) and answered numerous questions by investigator Mr. David Betts

          regarding the events in question.

     23. Dr. Petrou also accompanied her husband Dr. Foerster to OIE who also reported concerns

          of retaliation by Dr. Welsh as a witness to the sexual harassment and again answered

          numerous questions by Mr. Betts, the OIE investigator.

     24. Subsequently, in 2019 and following Dr. Petrou’s resignation from the University of

          Michigan, the University of Michigan stated to the EEOC that Dr. Petrou had no

          involvement in the Altaee/Foerster OIE investigation and therefore any claims of

          retaliation by Dr. Petrou were “moot”.




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     25. The OIE investigation with respect to Dr. Foerster’s claims was deemed as “insufficient

          evidence” to establish a charge of retaliation; OIE omitted 13/17 pieces of submitted

          evidence.

     26. The OIE report for Ms. Altaee was never provided to Ms. Altaee, a violation of Title IX.

     27. Subsequently attorney Daniel Tukel presented an OIE report for Ms. Altaee at Dr.

          Foerster’s 5.09 proceedings in November, 2018.

     28. The OIE report for Ms. Altaee designated Ms. Altaee as a “reportee”, a violation of Title

          IX.

     29. The OIE report for Ms. Altaee, omitted Ms. Altaee’s 10+ pieces of evidence.

     30. The OIE report for Ms. Altaee used a weather forecast rather than the actual weather

          report to label Ms. Altaee as a “liar.”

     31. Mr. Tukel echoed the labeling of Ms. Altaee as a “liar” during the 5.09 proceedings of

          Dr. Foerster.

     32. Dr. Petrou repeatedly emailed OIE including Tamiko Strickman, Associate Vice

          President of the University of Michigan’s Office of Institutional Equity regarding these

          issues but never received a reply about the Title IX violations documented Ms. Altaee’s

          OIE report.

     33. Following the conclusion of the OIE investigations, Dr. Petrou faced false allegations,

          along with Ms. Altaee and Dr. Foerster by research coordinator Sara Abraham, including

          a fabricated HIPAA violation.

     34. Sara Abraham was terminated for cause by Dr. Petrou after Dr. Petrou consulted with

          HR representative Ashanta Boarden who encouraged Dr. Petrou to terminate Ms.

          Abraham given the issues at hand.




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     35. While advising Dr. Petrou to terminate Ms. Abraham, and unbeknownst to Dr. Petrou

          Ms. Boarden was encouraging Ms. Abraham to come forward with her false allegations

          against Dr. Petrou, Dr. Foerster and Ms. Altaee.

     36. The University of Michigan never informed Dr. Petrou of the full spectrum of allegations

          filed by Ms. Abraham and never informed Dr. Petrou that Ms. Abraham filed her

          allegations with HHS OCR.

     37. HHS OCR closed the entire Sara Abraham complaint as non-credible given that there

          was no basis for a HIPAA violation, as claimed by Ms. Abraham.

     38. University of Michigan continued to “investigate” the fabricated allegations but to this

          date has refused to release how Sara Abraham’s allegations were adjudicated or any final

          investigation report, despite an ongoing litigated FOIA appeal, aside from an email

          confirming the HHS OCR findings that there was no basis for a HIPAA violation

          allegation on behalf of Ms. Abraham.

     39. Following the general false allegations filed by Sara Abraham against Dr. Petrou, Dr.

          Foerster and Ms. Altaee, Sara Abraham went on to file false allegations of data fraud

          against Dr. Foerster which were investigated by Dr. Ashton Miller and Dr. Sana Shakour

          in the winter of 2017 and found to be unsubstantiated.

     40. Dr. Petrou suffered a miscarriage in February 2017 at 12 weeks gestation.

     41. Dr. Petrou received her care at the University of Michigan for the pregnancy and

          miscarriage under Dr. Anita Malone.

     42. In April 2017, an anonymous character (unidentified to date) by the name of “Nick”

          appeared who claimed to be University of Michigan faculty and started making phone




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          calls through the University of Michigan switchboard spreading false criminal

          allegations against Dr. Petrou, and her husband Dr. Bradley Foerster.

     43. “Nick” claimed to be a member of the cardiothoracic radiology division under Dr. Ella

          Kazerooni, and claimed to be a friend and confidante of Paul Cronin, a long term

          colleague of Dr. Petrou’s who was also cardiothoracic radiology faculty member and in

          fact the fellowship director for the cardiothoracic radiology fellowship.

     44. Aine Kelly, Paul Cronin’s wife was also a faculty member in cardiothoracic radiology at

          the time.

     45. “Nick” falsely claimed that Dr. Petrou and her husband were “extorting” Paul Cronin

          based on a fabricated and unsubstantiated claim of a “forged financial document.”

     46. The Ann Arbor Police used “Nick” to justify a search warrant on Dr. Petrou’s accounts

          including the construction loan on Dr. Petrou’s brand new home, which directly resulted

          in the loss of Dr. Petrou’s home and all of her assets.

     47. Dr. Petrou asked then radiology Chair Dr. Reed Dunnick to investigate “Nick”.

     48. Dr. Dunnick refused to investigate “Nick.”

     49. In the spring of 2017 Paul Cronin also informed Dr. Petrou in the presence of Ms. Altaee

          that the miscarriage Dr. Petrou had suffered was not an “accident” but the result of an

          intentional pharmacologic intervention by “Reed and company” referring to Dr. Dunnick

          and others.

     50. Dr. Petrou was very upset but did not know what to make of that statement.

     51. Paul Cronin had also told Dr. Petrou, Dr. Foerster and Ms. Altaee of a Russian scheme

          in the 2016 U.S. Presidential scheme to subvert the election.




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     52. Paul Cronin had told Dr. Petrou and Ms. Altaee that Dr. Petrou’s mother, Maria Petrou,

          was a Russian spy.

     53. Paul Cronin had told Dr. Petrou and Ms. Altaee that there was an elaborate Russian

          money laundering scheme going on in Ann Arbor, Michigan.

     54. Once again, Dr. Petrou did not know what to make of Paul Cronin’s statements.

     55. Following, in June 2017 “Nick” reappeared and made false allegations of mental

          instability against Duaa Altaee’s then husband Tarick Seifeddine.

     56. Tarick was evaluated in the University of Michigan psychiatric emergency room and was

          found to be over the limit for alcohol but entirely psychiatrically stable.

     57. Cronin denied any claims of extortion under oath in a deposition he gave on June 20,

          2017. Cronin also denied any substantial knowledge regarding Dr. Petrou’s pregnancy

          and miscarriage as well as stating that he did not recognize the voice of “Nick”.

     58. In July 2017 Dr. Petrou reported concerns regarding NIH Grant R01 NS082304 and Dr.

          Welsh’s effort on the grant to HHS-OIG.

     59. Dr. Petrou clarified in her reporting that she was married to Dr. Foerster as a potential

          conflict of interest and asked for an investigation.

     60. Following, Paul Cronin asked for assistance from Dr. Petrou and Dr. Foerster to report

          concerns of radiology billing irregularities to the University of Michigan Office of

          General Counsel.

     61. Paul Cronin dictated to Dr. Petrou an email outlining his concerns and directly

          implicating Dr. Ella Kazerooni, his direct supervisor.

     62. Paul Cronin said he had evidence to back his claims.




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     63. Paul Cronin, Aine Kelly, Myria Petrou and Bradley Foerster all signed the email/agreed

          to report the concerns.

     64. Following, the University of Michigan retained legal firm Hall Render to investigate the

          NIH grant as well as the billing concerns.

     65. During this investigation Paul Cronin and Aine Kelly falsely stated that the billing

          concerns originated from Dr. Foerster.

     66. When confronted with the false statement by Dr. Petrou, Cronin stated that he lied

          because he was afraid of Ella Kazerooni.

     67. Immediately following the reporting of the billing concerns, “Nick” resurfaced and now

          made false sexual allegations against Dr. Petrou falsely claiming that she had an affair

          with Cronin, that Dr. Petrou’s and Dr. Foerster’s son was really Cronin’s son and this

          fabricated sex scandal was the basis of the extortion of Cronin.

     68. Dr. Petrou only found out about these false sexual allegations from “Nick” in October of

          2017 and reported them to the Office of Institutional Equity.

     69. The Office of Institutional Equity contacted Paul Cronin 18 times but Cronin refused to

          cooperate with the investigation.

     70. Paul Cronin was not compelled to cooperate with the investigation despite UM Lead

          Counsel Timothy Lynch informing Dr. Petrou and Dr. Foerster that the University can

          compel faculty members to cooperate with university investigations.

     71. Also, following the reporting of the grant and billing concerns in 2017, Dr. Petrou faced

          extensive retaliation against her career at the University of Michigan in terms of grant

          funding, collaborations, scheduling etc.




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    72. In the spring of 2018, Dr. Petrou shared some of her concerns about what had been going

         on and her upcoming promotion with then Dean Margaret Gyetko and Interim Chair of

         Radiology Ella Kazerooni.

    73. Dean Gyetko acknowledged Dr. Petrou’s concerns and after consulting with the

         Provost’s office granted Dr. Petrou an extension to her tenure clock.

    74. Dr. Petrou submitted her application for promotion and tenure to the Department of

         Radiology in April 2018.

    75. Dr. Petrou was recommended for promotion and tenure by the Department of Radiology

         promotions committee in June/July 2018.

    76. In the summer of 2018, Dr. Petrou found out that Reed Dunnick, Kara Morgenstern, Dean

         Carol Bradford and Dana Habers were making false and outlandish criminal allegations

         against Dr. Petrou and Dr. Foerster to the UM Police and the FBI.

    77. Neither the UM Police/FBI nor the relevant parties ever informed Dr. Petrou or Dr.

         Foerster about any concerns.

    78. Dr. Petrou also later found out that Kara Morgenstern in the summer of 2018 was trying

         to use a “contempt of court” allegation without a signed court order and via a proceeding

         with numerous other violations, all over false and ridiculous allegations of stolen and

         “counterfeit” orange cats to deprive Dr. Petrou and Dr. Foerster of their medical licenses.

    79. In July 2018, Dr. Petrou also wrote to the Office of Clinical Affairs asking them to correct

         the medical record with respect to her reproductive history and miscarriage, offering

         recordings of her doctor visits to substantiate the needed corrections (Exhibit A).

    80. Michigan Medicine has repeatedly refused to correct Dr. Petrou’s medical record.




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    81. Adding insult to injury, Dr. Eva Feldman, in July 2018 banned Dr. Petrou from the ALS

         clinic citing an “ongoing OIG investigation” as justification.

    82. This made execution of an ALSA grant impossible, which was important to Dr. Petrou’s

         application for promotion and tenure.

    83. Dr. Petrou recently found out that the OIG investigation of her concerns regarding NIH

         R01 Grant NS082304 was administratively closed in October 2017.

    84. Dr. Petrou has also recently discovered that the FBI was also involved the investigation

         of NIH R01 Grant NS082304.

    85. The University of Michigan never disclosed that the FBI was also involved in the

         investigation of the NIH R01 grant.

    86. Upon information and belief, the FBI was included in the NIH grant investigation to

         allow the University of Michigan to delay/obstruct the investigation of the NIH R01 grant

         and suppress how the investigation was conducted.

    87. Upon information and belief, this was part of the scheme to delay/obstruct the

         investigation until the University of Michigan could force out Dr. Petrou, Ms. Duaa

         Altaee, and Dr. Foerster.

    88. Ms. Altaee was terminated in December 2017 while being on approved medical leave for

         PTSD secondary to the sexual harassment.

    89. Dr. Foerster resigned in June 2019 due to a hostile work environment including

         sham/fabricated 5.09 proceedings/charges.

    90. Among other things, the HHS-OIG has no record of the March 2, 2018 interview of Dr.

         Petrou and Dr. Foerster regarding the NIH R01 grant which occurred at the FBI office in

         Ann Arbor, Michigan.




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    91. FBI Agent Sue Lucas never informed Dr. Foerster and Dr. Petrou that the FBI was

         investigating the grant.

    92. During the interview, Agent Sue Lucas focused her questions about Maria Petrou asking

         whether Maria Petrou “was a Russian agent or just a money launderer?”

    93. To which, Dr. Petrou responded “I know nothing about this. You have to ask Paul

         Cronin.”

    94. The HHS-OIG has no record of Special Agent Tyson Howard who ran the interview on

         March 2, 2018.

    95. To date, no one can find Special Agent Tyson Howard.

    96. The University of Michigan including UM Lead Counsel refused to investigate the

         identity of “Tyson Howard” even though the University of Michigan vetted Special

         Agent Tyson Howard as per Paul Cronin and Aine Kelly, Dr. Kazerooni brought in

         Special Agent Tyson Howard to interview Paul Cronin in the Radiology Chair’s

         conference room shortly after the March 2, 2018 interview.

    97. In fact on May 1 2019, attorney Mr. Tukel dismissed Dr. Foerster’s concerns that Special

         Agent Tyson Howard did not exist per the HHS-OIG during the 5.09 proceedings

         claiming that the concerns were unfounded since the March 2, 2018 occurred in the Ann

         Arbor FBI office.

    98. In July 2018, given everything and the hostile and unsafe work environment, Dr. Petrou

         who was in California at the time, asked Dr. Kazerooni to work remotely (given that

         other radiologists were working remotely at the time) until some of these issues could be

         resolved.

    99. Dr. Kazerooni refused Dr. Petrou’s request.




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    100. UM Lead Counsel Timothy Lynch threatened Dr. Petrou instructing her to return to an

         unsafe and hostile work environment.

    101. Dr. Petrou sent her resignation letter to Dr. Kazerooni on September 24 2018 effective

         September 30 2018 (Exhibit B).

    102. Dr. Kazerooni accepted the resignation without asking Dr. Petrou any questions or

         offering counseling (Exhibit C).

    103. Instead Dr. Kazerooni referred the resignation to the University of Michigan Police as

         “suspicious circumstances.” (Exhibit D).

    104. The University of Michigan Police kept the investigation open for months but never

         talked to Dr. Petrou, Dr. Foerster or Paul Cronin.

    105. The University of Michigan Police claimed that they tried to get hold of Dr. Petrou

         through an old phone number, even though Dr. Petrou’s correct, updated phone number

         was on record with the University of Michigan.

    106. The University of Michigan Police had previously ignored reports of death threats against

         Dr. Petrou and Ms. Altaee and closed the investigation into those within just over an hour

         while mis-documenting the facts.

    107. Following the resignation of Dr. Petrou, OIE issued an Assessment of Claims for Dr.

         Petrou’s concerns over “Nick” stating they could not investigate as they could not

         determine the identity of “Nick” and documenting that Paul Cronin would not cooperate

         with the investigation despite being contacted 18 times.

    108. Just as with Ms. Altaee’s OIE report, OIE did not release a copy of the report to Dr.

         Petrou.




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    109. Instead, Mr. Tukel brought out both Ms. Altaee’s and Dr. Petrou’s OIE reports during

         the Dr. Foerster’s 5.09 proceedings.

    110. Following the resignation of Dr. Petrou from the University of Michigan, Paul Cronin

         sent Dr. Petrou an affidavit stating that all of “Nick’s” sexual allegations were fabricated.

    111. Following the resignation of Dr. Petrou from the University of Michigan Dr. Petrou

         found out that there was an FBI report marked “Do Not Distribute” at the University of

         Michigan from January/February 2018 documenting allegations of mental instability

         regarding Dr. Petrou and Dr. Foerster by Dr. Petrou’s mother Maria Petrou and Dr.

         Petrou’s late father Petros Petrou who was demented at the time.

    112. Maria Petrou has stated that she never made claims of mental instability against Drs.

         Petrou and Foerster and has executed a recent affidavit. (Exhibit E).

    113. The University has refused to disclose how they came into possession of the FBI report.

    114. Maria Petrou has stated that she was never given a copy of the FBI report prior to

         obtaining a copy via the office of attorney Papantoniou in Nicosia, Cyprus, where Dr.

         Petrou deposited the report released to her by the University of Michigan FOIA Office.

    115. Following her resignation in good standing from the University of Michigan, Dr. Ella

         Kazerooni and the University of Michigan and their affiliates and surrogates have gone

         on to blacklist Dr. Petrou from academic and private practice positions and to actively

         interfere in numerous and sinister ways with her employment and right to life, liberty and

         happiness.

    116. Dr. Petrou has also applied for the same position she held in the Department of

         Radiology, Division of Neuroradiology prior to being approved for tenure and was not

         even granted an interview.




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    117. Dr. Petrou’s qualifications are superior to the faculty hired for (non-tenured) the position

         when Dr. Petrou’s qualifications were vetted for tenure.

    118. When inquiring with current Department of Radiology Chair Dr. Vikas Gulani, Dr.

         Gulani stated that this decision is up to division chief Dr. Ashok Srinivasan.

    119. Dr. Srinivasan and his wife have a close relationship with Dr. Ella Kazerooni.

    120. Instead, Paul Cronin and Aine Kelly were promoted out to Emory University as full

         professors in the Department of Radiology.

    121. It has recently emerged that neither Paul Cronin nor Aine Kelly have medical school

         transcripts on file at the University of Michigan.

    122. Both Paul Cronin and Aine Kelly completed masters degrees at the University of

         Michigan for which such transcripts are an absolute requirement per Rackham School of

         Graduate studies.

    123. As part of the overall scheme to discredit and target Dr. Petrou the University of

         Michigan has committed numerous violations of the FOIA as documented in the

         numerous litigated FOIA appeals that Dr. Petrou was forced to file with the Court of

         Claims in Michigan to obtain critical information to protect her employment.

    124. Furthermore, almost everyone who has offered any meaningful assistance to Dr. Petrou

         and her family through this journey has faced significant and often sinister adverse action

         against their employment, family and general well-being.

    125. In addition, Dr. Petrou has faced severe and pervasive interference with the employment

         that she has been only able to obtain after placing the University of Michigan on record

         which continues to date and includes sinister schemes interfering with patient care.




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    126. Dr. Ella Kazerooni has previously admitted defaming Dr. Petrou and specifically

         disseminating defamatory articles published by the Ann Arbor Observer nationally and

         internationally which has interfered with employment and other opportunities for Dr.

         Petrou and her husband Dr. Foerster.

    127. In 2020, Dr. Petrou learned that Dr. Nicholas Reeser (who was a radiology fellow under

         Cronin and Kazerooni in 2017) appeared to be a voice match for “Nick.”

    128. Following, Cronin and Kazerooni have both refused to comment whether they recognize

         the voice of “Nick” which Dr. Petrou forwarded to them in recordings obtained via FOIA

         by the Ann Arbor Police.

    129. The University of Michigan has repeatedly refused to come to a settlement to allow Dr.

         Petrou to work unimpeded which the University of Michigan’s own counsel Daniel Tukel

         has said in front of a federal judge was an unreasonable position on the part of the

         University of Michigan.

    130. Concurrently, in July 2019 Mr. Tukel informed the federal judge that if the University

         had any outstanding law enforcement documents Dr. Petrou should have access to them.

    131. When periodically, physical safety concerns have emerged in the context of the events

         outlined above, UM lead counsel Tim Lynch refused to take any initiative or

         responsibility and instead referred Dr. Petrou to law enforcement when clearly law

         enforcement has been weaponized in this scheme to discredit and target Dr. Petrou.

    132. As recently as on September 26 2021 Dr. Petrou, in an attempt to reach reconciliation

         and settlement wrote to the University of Michigan Regents and outlined the issues with

         her resignation under fraudulent pretenses, Paul Cronin’s bizarre statements, the

         mishandling of her resignation by Dr. Kazerooni referring the matter to law enforcement




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       and blacklisting Dr. Petrou, the victim in the entire situation while “wishing Dr. Petrou

       well in her future endeavors” and asked the UM Regents to consider these matters as they

       direct a path forward (Exhibit F).


                                    FIRST CAUSE OF ACTION
                            Violation of Constitutional and Civil Rights
                                       Under 42 U.S.C. 1983

  133. Plaintiff Dr. Petrou realleges and incorporates all preceding paragraphs by reference as

       if more fully set out herein.

  134. When the events alleged in this complaint occurred, Deputy Lead Counsel Kara

       Morgenstern, Lead Counsel Timothy Lynch, Dr. Reed Dunnick, Dr. Ella Kazerooni, Dr.

       Eva Feldman, “Nick” as well as Paul Cronin and Aine Kelly were acting within the scope

       of their employment.

  135. When the events alleged in this complaint occurred, the University of Michigan Police

       were acting within the scope of their employment and under color of law.

  136. At all times relevant, Defendant University of Michigan employed Deputy Lead Counsel

       Kara Morgenstern, Lead Counsel Timothy Lynch, Dr. Reed Dunnick, Dr. Ella

       Kazerooni, Dr. Eva Feldman, “Nick” as well as Paul Cronin and Aine Kelly and is liable

       for their acts.

  137. At all times relevant, Defendant University of Michigan employed University of

       Michigan Police and is liable for their acts.

  138. Defendant University of Michigan is also liable because of its policies, practices, and

       customs, which lead to this complaint of violation of 42 U.S.C. 1983.

  139. Plaintiff Dr. Petrou’s constitutional protected rights that Defendant University of

       Michigan violated include, but are not limited to the following:

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         a)   The right to seek judicial redress in the courts pursuant to the First Amendment to

               the U.S. Constitution;

         b)   The rights against taking of property without due process pursuant to Takings

               Clause of the Takings Clause of the Fifth Amendment to the U.S. Constitution;

         c)   The right to fair and equal treatment guaranteed and protected by the Equal

               Protection Clause of the Fourteenth Amendment to the U.S. Constitution;

         d)   The right to due process protected by the Fifth and Fourteenth Amendment to the

               U.S. Constitution;

         e)   The right to confront one’s accusers protected by the Sixth Amendment;

         f)   The right to privacy, protected by the Ninth Amendment to the U.S. Constitution;

         g)   The right to free speech and gather, protected by the First Amendment of the U.S.

               Constitution;

         h)   The right to an accurate medical record under HIPAA;

         i)   The right to be licensed and employed as a practicing physician and academic; and

         j)   The right to life, liberty and happiness.

    140. The University of Michigan, acting under color of law, violated these longstanding

         constitutional rights of Plaintiff Dr. Petrou by running numerous secret police

         investigations against Dr. Petrou.

    141. The University of Michigan and its agents endorsed and furthered false allegations

         against Plaintiff Dr. Petrou and her husband by numerous parties who had documented

         financial and other incentives to pursue such false allegations without documenting or

         investigating conflicts of interest.




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    142. The University of Michigan ignored and obfuscated requests of investigation by Plaintiff

         Dr. Petrou and her husband which did not serve the agenda of malignant prosecution

         against Plaintiff Dr. Petrou and her husband and which would compromise and

         incriminate the false witnesses the University of Michigan employed to further an agenda

         of malignant prosecution.

    143. The right to due process was violated by numerous parties of Defendant University of

         Michigan violating court rules and state statutes.

    144. The right to fair and equal treatment was violated by numerous parties of Defendant

         University of Michigan who displayed bias towards Plaintiff Dr. Petrou and favored other

         parties with no justification.

    145. The right to confront one’s accusers were violated by not allowing Plaintiff Dr. Petrou to

         confront “Nick” or Paul Cronin in the setting of an official University investigation.

    146. The right to privacy and right to free speech was violated by the University of Michigan.

    147. The right to life, liberty and happiness was violated by the University of Michigan

         running numerous sham investigations and suffering from multiple violations and

         inconsistencies.

    148. The right to life, liberty and happiness was violated by the University of Michigan

         through destroying Dr. Petrou’s reputation and violating his right to use his extensive

         training and abilities to pursue an academic career including taking care of patients in an

         academic setting, teach students, and pursue research advances to treat fatal neurological

         diseases.

    149. Further, the loss of Dr. Petrou’s house and eviction from the house from the Plaintiff Dr.

         Petrou’s home was directly caused and condoned by the Defendant University of




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       Michigan through the facilitation and subsequent cover-up of “Nick” resulting in the

       taking of property without due process.

  150. The acts of the University of Michigan were not privileged.

  151. Defendant University of Michigan, through its police department, acting under color of

       law, authorized, tolerated, ratified, permitted, or acquiesced in the creation of policies,

       practices, and customs, establishing a de facto policy of deliberate indifference to

       individuals such as the Plaintiff.

  152. UM faculty Paul Cronin and Aine Kelly also violated Plaintiff’s rights to life, liberty and

       happiness through making false allegations to the Ann Arbor Police via a proxy, i.e.

       “Nick.”

  153. Through the use of a proxy, these parties also violated Plaintiff’s Sixth Amendment rights

       to confront one’s accuser.

  154. Further, UM faculty Paul Cronin and Aine Kelly interfered with Plaintiff’s employment

       and as such the Plaintiff’s right to life, liberty and the pursuit of happiness in a number

       of ways. These included making false statements regarding Plaintiff and her husband in

       University of Michigan investigations, refusing to participate in University investigations

       to clear Plaintiff’s and husband’s good names, and spreading false rumors at the work

       environment regarding Plaintiff and her husband directly or via proxy.

  155. UM Faculty Ella Kazerooni interfered with Plaintiff’s employment at the University of

       Michigan as well as subsequent outside employment.

  156. UM Faculty Ella Kazerooni violated due process by accepting Plaintiff’s resignation in

       good standing and subsequently referred the resignation to the UM police for “suspicious




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         circumstances” as well as using the resignation circumstances to interfere with outside

         employment opportunities.

    157. The University of Michigan endorsed/refused to investigate “Nick” when asked by

         Plaintiff and subsequently ran a sham investigation into “Nick’s” allegations without

         talking to the Plaintiff or the other relevant parties.

    158. The University of Michigan endorsed/refused to investigate a federal agent (“Tyson

         Howard”) used to intimidate and muzzle the Plaintiff in an effort to cover up its wrong-

         doing.

    159. Based upon the above facts, federal agent “Tyson Howard” is presumed to be affiliated

         with and used as a proxy by the University of Michigan.

    160. The actions of the University of Michigan have inflicted long term and ongoing damages

         to Dr. Petrou and her family including loss of their home and assets, destruction of their

         credit rating resulting in inability to purchase a home and other items, loss of long

         standing personal and professional relationships and disruptions of friendships and

         relationships of their children, loss of job stability, loss of place of worship, preclusion

         from expanding Plaintiff’s family as planned/interference with reproductive rights, being

         forced to work in unsafe and hostile work environments and compromise of extended

         family relationships.




                                   SECOND CAUSE OF ACTION
                                          Defamation



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  161. Plaintiff Dr. Petrou realleges and incorporates all preceding paragraphs by reference as

       if more fully set out herein.

  162. Statements by the University of Michigan and its agents were untrue when made or made

       in reckless disregard for the truth.

  163. Ella Kazerooni, Paul Cronin and Aine Kelly, acting under the umbrella of the University

       of Michigan propagated, broadcasted and amplified numerous defamatory statements

       published by the Ann Arbor Observer.

  164. Ella Kazerooni published numerous false, unsubstantiated and defamatory statements in

       the August 31, 2018 annual review letter and refused to retract the defamatory statements.

  165. Upon information and belief “Nick” was an agent of Kazerooni, Cronin and Kelly.

  166. “Nick” made false criminal and sexual allegations against Dr. Petrou and her husband.

  167. Upon information and belief Ella Kazerooni, Paul Cronin and Aine Kelly told other

       parties including other agencies, physicians and hospitals that Plaintiff Dr. Petrou was

       not a good, sound or trustworthy person and had committed criminal acts and other

       professional violations.

  168. Kara Morgenstern in her role as Deputy Lead Counsel for the University of Michigan

       made false allegations against Dr. Petrou and her husband to the Michigan Professional

       Licensing Board (LARA) which were propagated to other state licensing boards in an

       effort to unlawfully defraud Dr. Petrou and Dr. Foerster of their medical licenses.

  169. Kara Morgenstern in her role as Deputy Lead Counsel for the University of Michigan

       also made false allegations against Dr. Petrou and her husband to law enforcement.

  170. These malicious statements were untrue when made and painted Plaintiff Dr. Petrou in a

       bad light.



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    171. These malicious statements were untrue when made or made in reckless disregard for the

         truth.

    172. As a result of these actions, Plaintiff Dr. Petrou and her family suffered and continue to

         suffer severe emotional distress, loss of employment and earnings, loss of property and

         severe damage to reputation in both professional and social settings.



                             THIRD CAUSE OF ACTION
                             Fraudulent Misrepresentation

    173. Plaintiff Dr. Petrou realleges and incorporates all preceding paragraphs.

    174. The University of Michigan and its agents made numerous fraudulent misrepresentations

         including but not limited to accepting Dr. Petrou’s resignation in good standing and

         “wishing her well” in future endeavors while referring the resignation to law enforcement

         as “suspicious” and blacklisting Dr. Petrou from employment opportunities including

         refusing to offer Dr. Petrou an interview at the University of Michigan for a position she

         was clearly qualified for, given the departmental approval for promotion tenure prior to

         Dr. Petrou’s resignation.

    175. The University of Michigan and its agents informed Dr. Petrou that there was an ongoing

         OIG investigation when the investigation was closed and concurrently using the closed

         OIG investigation to prevent Dr. Petrou from attending neurology clinic to recruit

         research subjects for a grant, in a direct sabotage of her promotion and tenure process.

    176. The fraudulent representations have resulted in extensive damages to the Plaintiff

         including but not limited to emotional distress, loss of property and assets, loss of

         employment and earnings.




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                              FOURTH CAUSE OF ACTION
                         Intentional Infliction of Emotional Distress

    177. Plaintiff Dr. Petrou realleges and incorporates all preceding paragraphs.

    178. Behavior and actions of Defendant University of Michigan and/or agents including but

         not limited to Timothy Lynch, Kara Morgenstern, Reed Dunnick, Ella Kazerooni, Eva

         Feldman, Paul Cronin, Aine Kelly, Ashok Srinivasan and “Nick” as well as Kara

         Morgenstern thereof was extreme and outrageous.

    179. Said behavior by Defendant University of Michigan and/or agents thereof was intentional

         and reckless.

    180. If said behavior by Defendant University of Michigan and/or agents was not intentional

         it was at least grossly negligent with malice.

    181. The events above caused severe emotional distress to Plaintiff Dr. Petrou.

    182. At all relevant times Defendant University of Michigan acted maliciously, recklessly,

         intentionally or by reason of gross negligence or violation of the law and therefore liable

         to Plaintiff Dr. Petrou

    183. As a direct and proximate cause of the violations listed in this Complaint, Plaintiff Dr.

         Petrou has suffered and continues to suffer from severe and permanent emotional

         distress, embarrassment, damage to her professional and personal reputation, loss of

         home and assets, loss of employment and earning capacity. Plaintiff Dr. Petrou is entitled

         to compensatory, exemplary and punitive damages.




                             FIFTH CAUSE OF ACTION
                   Retaliation in Violation of the Sarbanes-Oxley Act
                                   18 U.S.C. § 1514A


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  184. As a separate cause and distinct cause of action, Plaintiff Dr. Petrou complains and

       realleges and incorporates all proceeding paragraphs by reference as if more fully set out

       herein.

  185. At all material times Section 806 of the Sarbanes-Oxley Act of 2002 was in effect and

       binding on Defendant University of Michigan. It prohibits employers such as Defendant

       University of Michigan from discharging, constructively discharging, demoting,

       threating, harassing or in a manner discriminating or retaliation against any employee

       because he or she provided information, caused information to be provided, or assisted

       in an investigation by a federal regulatory or law enforcement agency, or an internal

       investigation by the company/institution relating to alleged mail fraud, wire fraud, bank

       fraud, securities fraud, or other violations of federal law relating to fraud.

  186. Defendant University of Michigan harassed, threatened, and related against Plaintiff Dr.

       Petrou and disclosed his entity as whistleblower after Plaintiff made oral and written

       complaints regarding what he reasonably believed to be illegal or unlawful conduct in

       violation of federal and state statutes, rules and regulation.        Plaintiff made these

       complaints to his employer, by and through its agents and employees.

  187. Plaintiff Dr. Petrou is informed and believes, and thereon alleges that because of his

       making complaints regarding Defendant University of Michigan’s illegal conduct and/or

       conduct Plaintiff Dr. Petrou reasonably believed to be illegal, Plaintiff Dr. Petrou was

       discriminated and retaliated against by Defendant University of Michigan after he made

       the aforesaid complaint about illegal conduct and/or conduct that Dr. Petrou reasonably

       believed to be illegal.




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    188. As a direct cause and proximate result of Defendant University of Michigan’s actions,

         Plaintiff Dr. Petrou has suffered and continues to suffer pain and mental anguish and

         emotional distress.

    189. Plaintiff Dr. Petrou has further suffered and will continue to suffer a loss of earnings and

         other employment benefits, whereby Plaintiff Dr. Petrou is entitled to general

         compensatory damages in amounts to be proven at trial.

    190. Defendant University of Michigan’s actions constituted a willful violation of the afore-

         mentioned federal laws and regulations. As a direct result, Plaintiff Dr. Petrou has

         suffered and continues to suffer substantial losses related to loss of wages is entitled to

         recover costs and expenses in seeking to compel Defendant University of Michigan to

         fully perform its obligations under state and federal law in amounts according to proof at

         time of trial.

    191. The conduct of Defendant University of Michigan described hereinabove was outrageous

         and was executed with malice, fraud, and oppression, and with conscious disregard for

         Plaintiff Dr. Petrou’s rights, and further, with the intent, design, and purpose of injuring

         Plaintiff Dr. Petrou.

    192. Defendant University of Michigan committed the acts alleged hereinabove by acting

         knowingly and willingly, with the wrongful and illegal deliberate intention of injuring

         Plaintiff Dr. Petrou, from improper motives amounting to malice, and in conscious

         disregard of Plaintiff Dr. Petrou’s rights. Plaintiff Dr. Petrou is thus entitled to recover

         nominal, actual, compensatory, punitive and exemplary damages in amounts according

         to proof at the time of trial, to the full extent allowable by law, in addition to any other

         remedies allowable by law.




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   193. As a proximate result of the actions and conduct described hereinabove, which

        constitutes violations of Section 806 of the Sarbanes-Oxley Act of 2002, Plaintiff Dr.

        Petrou has been damaged in an amount according to proof at the time of trial and seeks

        make whole relief, civil penalties against Defendant University of Michigan pursuant to

        the Sarbanes-Oxley Act of 2002.

   194. Plaintiff Dr. Petrou was damaged by these actions including but not limited to, severe

        and permanent emotional distress, physical pain and suffering, fear, mortification, and

        other damages that may be determined through discovery. Plaintiff Dr. Petrou is entitled

        to compensatory, exemplary, and punitive damages.



                                     IV. REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests judgment against Defendant for the following:

   A. An immediate injunction where no information from the University of Michigan can be

      used against Dr. Petrou’s medical licensing and credentialing until final resolution of this

      case.

   B. An order declaring the conduct of the Defendant University of Michigan unconstitutional.

   C. An order for the Defendant University of Michigan to issue a public apology for its actions.

   D. Plaintiff Dr. Petrou prays for restoration of his academic faculty position at the University

      of Michigan with credit given for lost time and grade.

   E. Plaintiff Dr. Petrou prays for the restoration of ownership of his property of 630/620

      Geddes Ridge, Ann Arbor, Michigan which is currently owned by faculty at the University

      of Michigan.

   F. Litigation/court costs reasonably incurred in this action.



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   G. Award any other relief that this Honorable Court finds just and equitable.

   H. Award any other relief that this Honorable Court finds just and equitable.



                                       JURY DEMAND

Plaintiff respectively demands a jury trial on all issues so triable.




Dated: September 26, 2021                    _______________________________________
                                             Myria Petrou (In Pro Per)
                                             3507 Veralta Drive
                                             Cedar Falls, IA 50613
                                             (626) 272-7393
                                             Petroumyria75@gmail.com




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               UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN



Myria Petrou                                               Judge: Pending assignment

PLAINTIFF                                                  Case: Pending assignment



In pro per

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Vs



University of Michigan

DEFENDANTS

INDEX OF EXHIBITS FOR COMPLAINT:



Exhibit A: Letter of Myria Petrou to UM Office of Clinical Affairs, July 16 2018

Exhibit B: Resignation letter of Myria Petrou dated September 24 2018

Exhibit C: Acceptance of resignation by Ella Kazerooni dated September 25 2018

Exhibit D: UM Police investigation into Dr. Petrou’s resignation

Exhibit E: Maria Petrou affidavit July 23 2021

Exhibit F: Email of Dr. Petrou to UM Regents dated September 26 2021



RESPECTFULLY SUBMITTED:



Myria Petrou

3507 Veralta Drive

Cedar Falls IA 50613

626-2727393 petroumyria75@gmail.com
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Myria Petrou, MA MBChB MS
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July 16, 2018

Dear UM Office of Clinical Affairs,

I am an Assistant Professor in the Department of Radiology. I recently reviewed my
personal health record and have discovered some important omissions and errors/
misdocumentation that I am writing to inform you about and ask that you investigate and
correct as indicated.

On 2/21/2017 I had a “dilatation and curettage” or “manual vacuum extraction” for
retained products of conception at Mott Hospital by Dr. Anita Malone. The operative
note states that “I desired surgical management”. This is incorrect. In fact, at my end of
first trimester obstetric appointment I had with Dr. Malone, on 2/16/2017, where no fetal
heart tone was detected, Dr. Malone discussed the different options of dealing with
retained products of conception which included: “letting nature take its course”, that is
taking no medical action vs “giving medication to assist me pass the products” vs doing
a manual extraction which could be performed in an outpatient clinic setting under mild
sedation vs the most drastic option which was to have a manual extraction under deep
sedation in the operating room.

Dr. Malone told me I could think about my options and ordered a diagnostic ultrasound
to be performed in the Department of Radiology on 2/17/2017. After the ultrasound
which confirmed the absence of a fetal heart tone I contacted Dr. Malone and I stated
that I wanted to “let nature take its course”. I was, to my surprise, advised against this
option at this point by Dr. Malone and she scheduled me for an appointment and
potential manual extraction at the UM Obstetrics Clinic in Northville for 2/20/2017. This
discussion was not documented in the medical record.

On 2/20/2017 I called the Northville clinic to inquire about the time of the appointment/
potential reschedule and asked to speak with Dr. Malone. I received a call from the
Northville clinic stating that I had been rescheduled for the procedure under deep
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sedation in the Mott OR based on Dr. Malone’s review of the case as Dr. Malone felt it
was best to have the procedure in the operating room, under “controlled conditions”.

Once again, these discussions are not accurately reflected in the medical record and
the statement that “I desired surgical management” is both false and misleading. In fact,
this escalation of reported risk where I went from being counseled that I did not have to
seek any further medical care to essentially being told I have to go to the operating
room for this procedure caused me even greater anxiety at a time of stress and loss.

On 3/20/2017 I had my postoperative visit again at the UM Northville OB clinic with Dr.
Malone. For this visit I was accompanied by my husband, Dr. Bradley Foerster, MD
PhD, Associate Professor at UM Radiology. We had an extensive discussion with Dr.
Malone regarding the miscarriage and allowing for one regular menstrual cycle before
trying again to have a child. Brad and I both expressed how upset we were about the
pregnancy loss and our desire to try again to have a child in the near future and Dr.
Malone said that she was hoping to see us again soon for a prenatal visit. There is no
mention of Dr. Foerster being present for this visit and no mention of ANY discussion
regarding how we were dealing with the pregnancy loss and our plans for a future
pregnancy in Dr. Malone’s note. I have written and read thousands of medical notes in
my career and I understand that documenting these kinds of discussions with patients
and families forms an integral part of the medical record.

On 6/15/2017 I had an appointment with Dr. Malone to discuss contraception. I
explained to her that even though me and my husband wanted to have another child we
were under incredible stress due to litigation with our builder and parties
                                                                    p       making false
criminal allegations against us resulting in our house going into foreclosure. We
specifically talked about the need for reliable contraception for the next few 5-6 months
until “hopefully things settled down”. We agreed that inserting an intrauterine device,
given my good experience with this method in the past would be a good option and Dr.
Malone was actually able to insert the device at this appointment even though I was not
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originally scheduled for a procedure. The only documentation of this appointment is the
IUD insertion procedure note that just states “Needs contraception” as an indication and
again has NO information regarding our discussion.

I am requesting an investigation into the documentation of the events surrounding my
2017 pregnancy loss, the need for a manual extraction in the operating room, my
postoperative visit and my 6/15/2017 visit with Dr. Malone as the documentation that is
currently available under my personal medical record is inconsistent with my personal
documentation of these visits and events. Furthermore, this information is critical in an
Office of Institutional Equity investigation that in part focuses on the events surrounding
my pregnancy loss and reproductive health issues. In addition the pregnancy loss has
been part of other litigation so accurate and clear medical record documentation that
meets established standards of care is of utmost importance.

Please feel free to contact me with any questions, I would be more than happy to
discuss these concerns with you. Dr. Foerster would also be happy to provide
information regarding these events as he was present my visits and discussions
including my trip to the OR on 2/21/17.

Thank you for your attention to this critical matter.

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September 24 2018

Dear Dr. Kazerooni and Dean Bradford,

I am writing to let you know that I am resigning from my position as Assistant Professor-
Instructional Track in the Department of Radiology at the University of Michigan effective
September 30 2018. I trust that this is adequate notice given the circumstances.

Over this past weekend I was laying in bed recovering from my recent surgery and going
through some documents I recently obtained access to. I started listening to some audio
recordings of my colleague Dr. Paul Cronin from February/March 2017. The first time I listened I
just froze. Then chills went down my spine. And then the tears came. And the tears would not
stop. Dr. Cronin was outlining in significant detail how the miscarriage I suffered at 12 weeks
gestation in February 2017 was not an “accident” but rather the result of an intentional
pharmacologic intervention by per Dr. Cronin, “Reed and company”, referring to Dr. Reed
Dunnick and other parties.

I kept playing the recordings trying to convince myself they were not real. But the details about
places I had been at the time, people I interacted with, dates and times, tasks I completed,
things I ate were too real, too accurate, too eerie. I had never shared such mundane little
details with anyone. As much as I did not want this story to be real I knew it was real. I knew I
was sexually assaulted and Paul Cronin seemed to know all about it.

And suddenly everything started to make sense. The harassment, the retaliation, the rumors,
the false criminal allegations, the conspiracy theories, the constant attempts to discredit me, the
hostile work environment, the losses I have suffered in so many aspects of my life. I was
hopeful that things would get better with the change in Departmental leadership. But
unfortunately things have not improved. I reported my concerns to the highest levels within the
University and for some reason nobody wanted to listen. And when I heard those recordings, I
knew that the responsible thing to do for myself and my family is step out, process the assault,
and figure out the path to healing.

I cannot even begin to explain how devastated, violated, hurt and cheated I feel. I gave a
substantial portion of my life to the University of Michigan. I trust that my decision will be
respected at this difficult time for me and my family.

Sincerely,



Myria Petrou MA MBChB MS

Cc:    Dean Marschall Runge, President Schlissel, Provost Martin Philbert,
       Dean Margaret Gyetko, Dr. Ashok Srininivasan, Mr. Timothy Lynch
  Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.36 Filed 09/27/21 Page 36 of 55
                                                                                  Ella A. Kazerooni, M.D., M.S.
                                                                          Interim Chair, Professor of Radiology
                                                                                 Professor of Internal Medicine
                                                                          Department of Radiology/UH B1G503
                                                                          University of Michigan Health System
                                                                                  1500 E. Medical Center Drive
                                                                              Ann Arbor, Michigan 48109-5030
                                                                  Phone: (734) 936-4346 x Fax: (734) 763-7318
                                                                                    E-mail: ellakaz@umich.edu




September 25, 2018

Myria Petrou, M.D.
Assistant Professor, Instructional Track
Division of Neuroradiology
Department of Radiology
University of Michigan Medical School / Michigan Medicine


Dear Dr. Petrou,

I have received and read your letter, and accept your resignation effective September 30, 2018.

Your letter will be forwarded to other University offices for follow up on the matters described.

Thank you for your years of service at the University of Michigan. We wish you well in your recovery
and in your future endeavors.

Sincerely,


Ella A. Kazerooni, M.D., M.S.
Interim Chair, Department of Radiology
Professor of Radiology & Internal Medicine



CC Carol Bradford
   Dana Habers
                Case 4:21-cv-12266-MFL-DRG
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 Fwd: Clarification regarding complaint and investigation
                                                                                                           Mon, Feb 4, 2019 at 2:15 PM




    ---------- Forwarded message ---------
    From: Myria Petrou <petroumyria75@gmail.com>
    Date: Fri, Jan 25, 2019 at 7:42 AM
    Subject: Fwd: Clarification regarding complaint and investigation
    To: bpl-complaints@michigan.gov <bpl-complaints@michigan.gov>


    Dear LARA Professional licensing complaints division,

    Please see email below. Forwarding to you as directed and look forward to hearing from you about the complaint so I
    can defend myself against allegations made which I was never contacted about.

    Thanks a lot

    Myria Petrou
    petroumyria75@gmail.com


    ---------- Forwarded message ---------
    From: BPLHelp <BPLHelp@michigan.gov>
    Date: Thu, Jan 24, 2019 at 4:43 PM
    Subject: RE: Clarification regarding complaint and investigation
    To: Myria Petrou <petroumyria75@gmail.com>



    Good afternoon,



    You will need to contact our Complaint Intake Department. They can be reached by email at BPL-
    Complaints@michigan.gov or by phone at (517) 241-0205.



    Thank you,

    Alexandria McGoron, Departmental Technician

    Licensing Division

    LARA/Bureau of Professional Licensing


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    PO Box 30670 – Lansing, MI 48909

    Main Office: (517) 335-0918




    From: Myria Petrou <petroumyria75@gmail.com>
    Sent: Thursday, January 24, 2019 10:45 AM
    To: bplcomplaints@michigan.gov; BPLHelp <BPLHelp@michigan.gov>
    Subject: Clarification regarding complaint and investigation



    Dear Michigan LARA



    I am a physician licensed in the State of Michigan and received my renewed license within the last week.

    I just spoke to the Compliance division in your office and was shocked to find out that nobody had informed me
    that an allegation was filed against me on 7/18/2018 either from LARA or from the University of Michigan.

    I understand that there is still an open investigation but nobody has reached out to me and I would respectfully
    request that I speak with someone so I can defend myself against any allegations.



    Please let me know ASAP as this is a time sensitive issue.



    I was on medical leave and away from work from the end of July to the end of September when I resigned from
    the University of Michigan in good standing for personal reasons (concerns of sexual assault which were
    communicated to the university).



    You have my current mailing address on file which is



    21 Willett Ave Apt 322

    Port Chester NY 10573



    My email is petroumyria75@gmail.com


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    My phone number is 626-2727393



    Thanks for your assistance



    Myria Petrou




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                          Exhibit &
  Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.41 Filed 09/27/21 Page 41 of 55
                                                                                  Ella A. Kazerooni, M.D., M.S.
                                                                          Interim Chair, Professor of Radiology
                                                                                 Professor of Internal Medicine
                                                                          Department of Radiology/UH B1G503
                                                                          University of Michigan Health System
                                                                                  1500 E. Medical Center Drive
                                                                              Ann Arbor, Michigan 48109-5030
                                                                  Phone: (734) 936-4346 x Fax: (734) 763-7318
                                                                                    E-mail: ellakaz@umich.edu




September 25, 2018

Myria Petrou, M.D.
Assistant Professor, Instructional Track
Division of Neuroradiology
Department of Radiology
University of Michigan Medical School / Michigan Medicine


Dear Dr. Petrou,

I have received and read your letter, and accept your resignation effective September 30, 2018.

Your letter will be forwarded to other University offices for follow up on the matters described.

Thank you for your years of service at the University of Michigan. We wish you well in your recovery
and in your future endeavors.

Sincerely,


Ella A. Kazerooni, M.D., M.S.
Interim Chair, Department of Radiology
Professor of Radiology & Internal Medicine



CC Carol Bradford
   Dana Habers
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.42 Filed 09/27/21 Page 42 of 55




                          Exhibit '
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.43 Filed 09/27/21 Page 43 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.44 Filed 09/27/21 Page 44 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.45 Filed 09/27/21 Page 45 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.46 Filed 09/27/21 Page 46 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.47 Filed 09/27/21 Page 47 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.48 Filed 09/27/21 Page 48 of 55




                          Exhibit (
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.49 Filed 09/27/21 Page 49 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.50 Filed 09/27/21 Page 50 of 55




                          Exhibit )
         Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.51 Filed 09/27/21 Page 51 of 55

                                                                   Myria Petrou <petroumyria75@gmail.com>



Another important dimension - our missing third child
2 messages

Myria Petrou <petroumyria75@gmail.com>                                         Sun, Sep 26, 2021 at 10:27 AM
To: jacker@umich.edu, mjbehm@umich.edu, mjbern@umich.edu, pwb@umich.edu, kewhite@umich.edu,
regenthubbard@umich.edu, rnweiser@umich.edu, dilitch@umich.edu


 Dear UM Regents,

 In November 2018, because I was unable to attend the 5.09 ad hoc committee hearings
 against my husband Dr. Bradley Foerster, given that I was recovering from major surgery
 in California and could not travel I sent a recording outlining some of the events
 surrounding my resignation from the University of Michigan in good standing in September
 2018.

 I am attaching the recording I sent and which Dr. Foerster played during the hearings.

 My recording accurately reflects my experience; yes my colleague Paul Cronin did tell me
 these things. Whether they were true or not is a whole different story.

 But then if Cronin said these things to me
 knowing that they were not true every single person I have talked to about this issue from
 all different cultures, backgrounds and walks of life said that this would not only be odd but
 at the very least cruel.

 Most women are quite upset and vulnerable after a miscarriage. I too was devastated.
 And of course this was all compounded by everything else going on at the same time
 including the whole “Nick” fiasco.

 In my resignation letter I did ask for privacy and time to heal. And when I didn’t hear
 anything from the University of Michigan I thought my wishes were being respected. Little
 did I know that in fact Dr. Kazerooni was referring my resignation to the UM Police for
 investigation deeming it “suspicious”. And that UM police would keep this “investigation”
 open for months without talking to me, my husband or Paul Cronin. So what exactly was
 the purpose of the “investigation” here? Discredit the victim of the situation? Deem me
 crazy and not credible? Use it against future employment - which was in fact done? And if
 that was the thinking why would the University accept the resignation without trying to
 counsel me? I was on leave and approved disability anyway recovering from surgery. Was
 it appropriate for Dr. Kazerooni to accept my resignation and at the same time deem it
 suspicious ? And why on earth did the University of Michigan refuse to correct the
 misdocumentations of my medical history and reproductive record surrounding the
 miscarriage when I was offering them recordings of doctor’s visits to substantiate the
      Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.52 Filed 09/27/21 Page 52 of 55
needed corrections, under HIPAA?

When Dr. Foerster played the recording at the 5.09 hearings people found it, naturally,
emotionally difficult. For I can promise you, it is entirely heart felt. I could give you the
same testimony in person today allowing for some pauses to pull myself together as the
more the sense of loss has sank in the more difficult talking about it has been.

Attorney Daniel Tukel barged in to say that my account didn’t count as I wasn’t there to be
interrogated by him. Well I am still here and I am not crazy or erratic. I have taken care of
thousands of patients since that time and represented myself in litigation with Mr. Tukel
being the opposing counsel.

Of note, my recording even though it was played at the as hoc committee hearings was
NOT transcribed into the official transcript. Committee Chair Carol Bradford and Daniel
Tukel tried to ask questions that were focused on me and my available evidence but
refused to bring in Paul Cronin who was active University faculty at the time for testimony
under oath. The committee also refused to bring in Ella Kazerooni who was also central to
the very charges investigated along with Paul Cronin and Aine Kelly.

Irrespective of what happened in 2017 and how it was handled in 2018 the bottomline is
that because of everything that happened to me and Brad via the 5.09 proceedings and
the subsequent retaliation against our employment by the University of Michigan and
parties affiliated and endorsed by the University (and which continues to date) we have
not been able to have the third child we always wanted.

Right around the time of the initiation of the 5.09 proceedings we in fact saw a fertility
specialist in California (a UM alum) who ran tests and said there should be no issues with
a pregnancy. I also at the time found out about bizarre false and outlandish allegations
made to the UM police and the FBI about me and Brad by Reed Dunnick, radiology
administrator Dana Habers, Kara Morgenstern and Dean Bradford which nobody informed
me about.

I asked Dr. Kazerooni to allow me to work remotely until some of these issues got
resolved as she had granted such accommodations to other faculty. The response was
Timothy Lynch threatening me and ordering me to return to an unsafe and hostile work
environment.

Again I am sending you this to show you another huge dimension of the loss and the
trauma we have suffered as a family. Whatever the circumstances surrounding the
pregnancy loss the reality is that directly because of the actions of the University of
Michigan our very much wanted third child is not here. And the sadness, the loss and the
unfairness of the whole thing is overwhelming for me, for my husband and my other two
children.

Again I thought it is important for you to consider these issues as you consider and direct
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 a path forward.

 Thanks

 Myria Petrou MA MBChB MS



     New Recording 18.m4a
     3049K


Mail Delivery Subsystem <mailer-daemon@googlemail.com>                                Sun, Sep 26, 2021 at 10:27 AM
To: petroumyria75@gmail.com




                     Address not found

                     Your message wasn't delivered to rnweiser@umich.edu
                     because the address couldn't be found, or is unable to receive
                     mail.




   The response from the remote server was:

   550 Requested action failed: User not found




 Final-Recipient: rfc822; rnweiser@umich.edu
 Action: failed
 Status: 5.0.0
 Remote-MTA: dns; mx2.a.mail.umich.edu. (3.20.94.70, the server for the domain umich.edu.)
 Diagnostic-Code: smtp; 550 Requested action failed: User not found
 Last-Attempt-Date: Sun, 26 Sep 2021 08:27:41 -0700 (PDT)


 ---------- Forwarded message ----------
 From: Myria Petrou <petroumyria75@gmail.com>
 To: jacker@umich.edu, mjbehm@umich.edu, mjbern@umich.edu, pwb@umich.edu, kewhite@umich.edu,
 regenthubbard@umich.edu, rnweiser@umich.edu, dilitch@umich.edu
 Cc:
 Bcc:
 Date: Sun, 26 Sep 2021 08:27:34 -0700
 Subject: Another important dimension - our missing third child
 ----- Message truncated -----
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.54 Filed 09/27/21 Page 54 of 55
Case 4:21-cv-12266-MFL-DRG ECF No. 1, PageID.55 Filed 09/27/21 Page 55 of 55
